                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                             Plaintiff,          )
                                                 )
                     v.                          )            No. 12-4008-05-CR-C-BCW
                                                 )
RUSSELL BROWNS,                                  )
                                                 )
                             Defendant.          )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Russell Browns, by consent, appeared before the undersigned on May 20,
2014, and pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts One and Two
of the Third Superseding Indictment filed on August 30, 2012. After cautioning and examining
Defendant, under oath, in accordance with the requirements of Rule 11, it was determined that
the guilty plea was made with full knowledge of the charges and the consequences of pleading
guilty, was voluntary, and that the offenses to which Defendant has plead guilty is supported by a
factual basis for each of the essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Browns be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).




                                               Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge
May 20, 2014
Jefferson City, Missouri
